Case 2:11-cv-06549-JLL-MAH Document 7 Filed 02/21/12 Page 1 of 1 PageID: 62




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY




 LUZ N.    TAMAYO,                       Civil Action No.:      11-6549(JLL)

          Plaintiff(s),

 V.
                                                 ORDER FOR DISMISSAL
AMERICAN CORADIOUS
INTENRATIONAL, LLC.,

          Defendant(s).




        It appearing in the above captioned action that the plain
                                                                  tiff
has failed to move this action by filing an Amended Compl
                                                          aint which
cures    the   pleading deficiencies    addressed by this       Court   in    it’s
Opinion and Order of December 28,         2011   (see cm/ecf docket entries

#5 and #6),      within the time frame established by this Court,

               It is on this
                               /7    day of FEBRUARY,   2012;

               ORDERED that this action is hereby dismissed as to

defendant,      American Coradious    International,    LLC,    with prejudice

for failure to comply with the court’s order of December
                                                         28,                 2011.



                                          JOSE //INARESI         U.S.D.J.
